IN THE UNITED STATES BANKRUPTCY COURT
Case:18-50834-MJK CrQR THE SQUTHERN DISTRICT OE GEBRGIA 9 10:53:40 Page:1 of 1

CHAPTER 7, CASE No. 18-50834-JSD
TRUSTEE FILE No. W19-0215

In the matter of:
SHARMA, PAUL DARSHAN

— ee ee

DEBTOR(s).

TRUSTEE’S REPORT OF INVENTORY AND REPORT OF ABANDONMENT OF PROPERTY

 

 

 

 

 

 

CLAIMED AS
VALUE EXEMPT ABANDONED
1978 El Camino 1,000.00 1,000.00
1998 Sea-Doo Jet Ski 500.00 500.00
Electronics 1,000.00 1,000.00
Clothing 500.00 500.00
Jewelry 1,500.00 1,500.00
Wells Fargo 100.00 100.00

 

 

Comes now, R. MICHAEL SOUTHER, Trustee of the estate of the above-named debtor(s) and files this report of
inventory and abandonment with respect to the property of the bankruptcy estate.

This 623. day of Aue 201°). sioned ALD AL hha

R. MICHAEL SOUTHER, Trustee

 

 
